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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

 UNITED STATES OF AMERICA                                                      PLAINTIFF

 V.                             CASE NO. 5:21-CR-50014

 JOSHUA JAMES DUGGAR                                                        DEFENDANT


                                         ORDER

       Defendant Joshua James Duggar was convicted by a jury of one count of receipt

 of child pornography and one count of possession of child pornography. As the Court

 acknowledged on the record during the sentencing hearing today, the possession

 conviction, which is Count Two of the Indictment (Doc. 1), is a lesser-included offense of

 the receipt conviction. Therefore, the jury's verdict on Count Two is VACATED, and

 Count Two is DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED on this 25th day of May, 2022.




                                                                       TRICT JUDGE
